                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )       No.:   3:13-CR-106-TAV-CCS-8
                                                 )
 JIMMY LEON ROLON,                               )
                                                 )
              Defendant.                         )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence

 reduction [Doc. 256]. The defendant moves the Court to resentence him pursuant to 18

 U.S.C. § 3582(c)(2) and in accordance with Amendment 782 and Amendment 788 to the

 United States Sentencing Guidelines Manual. The government has responded [Doc.

 258], deferring to the Court’s discretion as to whether, and to what extent, to grant any

 such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and section 1B1.10 of

 the United States Sentencing Guidelines Manual.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been



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        lowered by the Sentencing Commission . . . , the court may reduce the term
        of imprisonment, after considering the factors set forth in section 3553(a) to
        the extent that they are applicable, if such a reduction is consistent with
        applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, “[t]he court may then ‘consider

 whether the authorized reduction is warranted, either in whole or in part, according to the

 factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946, 949 (6th Cir.

 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

        In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the

 defendant was originally sentenced, the Court “shall leave all other guideline application
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 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C).

       Section 1B1.10 provides an exception to the rule that a defendant may not receive

 a sentence below the amended guideline range. Namely, if the defendant originally

 received a below-guideline sentence “pursuant to a government motion to reflect the

 defendant’s substantial assistance to authorities,” the Court may grant “a reduction

 comparably less than the amended guideline range.”         U.S. Sentencing Guidelines §

 1B1.10(b)(2)(B).

       In addition to these limits, section 1B1.10 states that a court must also consider the

 § 3553 factors and the danger to the public created by any reduction in a defendant’s

 sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

 conduct. Id.

 II.   Factual Background

       The defendant pleaded guilty to and was convicted of conspiring to distribute and

 possess with intent to distribute oxycodone, in violation of 21 U.S.C. §§ 846, 841(a)(1),

 and 841(b)(1)(C) [Doc. 233].      At the time of sentencing, the defendant was held

 responsible for a marijuana equivalent of 40 kilograms [Doc. 256 p. 2; Doc. 258 p. 2].

 Given the amount of drugs for which the defendant was held responsible, the defendant’s

 base offense level was 20 [Id.].      The defendant received a 3-level reduction for

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 acceptance of responsibility, resulting in a total offense level of 17 [Doc. 256 p. 2; Doc.

 258 p. 2–3]. Given the defendant’s criminal history category of V, the defendant’s

 applicable guideline range was 46 to 57 months’ imprisonment [Doc. 256 p. 2; Doc. 258

 p. 3].

          Before sentencing, government moved for a downward departure pursuant to

 section 5K1.1 of the Sentencing Guidelines [Id.]. The Court granted that motion and

 sentenced the defendant to 35 months’ imprisonment, which is 24 percent below the

 defendant’s original guideline range [Id.]. According to the parties, the defendant is

 currently scheduled for release on February 22, 2016 [Id.].

 III.     Analysis

          Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by 2 levels the

 offense levels assigned to the drug quantities described in section 2D1.1.            U.S.

 Sentencing Guidelines Manual App. C, amend. 782.              Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

          Applying Amendment 782, the defendant’s revised base offense level is 18, and

 affording the defendant the same adjustments the defendant originally received, the

 defendant’s new total offense level is 15.       U.S. Sentencing Guidelines Manual §

 1B1.10(b)(1). A total offense level of 15 and a criminal history category of V results in

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 an amended guideline range of 37 to 46 months’ imprisonment. Thus, the defendant was

 sentenced to a term of imprisonment based on a sentencing range that has subsequently

 been lowered by the Sentencing Commission.

        Next, the Court must determine whether a sentence reduction is consistent with

 applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

 Guidelines Manual § 1B1.10.         “[T]o satisfy the second requirement, a guidelines

 amendment must have had the effect of lowering the defendant’s applicable guideline

 range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

 discussed, that is the case here. And it would be consistent with the applicable policy

 statements to sentence the defendant below the “minimum of the amended guideline

 range” because the defendant originally received a sentence below the guideline range

 “pursuant to a government motion to reflect the defendant’s substantial assistance to

 authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).

        The Court now turns to the § 3553(a) factors in determining whether and to what

 extent the defendant’s sentence may be reduced.            As an initial matter, the Court

 determines that factors similar to the ones that applied at the defendant’s initial

 sentencing also apply at this time. In regard to these factors and in the context of the

 instant motion, the Court considers the nature and circumstances of the defendant’s

 offense—conspiracy to distribute and possess with intent to distribute oxycodone—and

 his role in the offense, along with his history and characteristics.




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        The Court also considers the need for the sentence imposed to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment for

 the offense, to afford adequate deterrence, to protect the public from further crimes of the

 defendant, and to provide the defendant with needed education and training, medical

 care, or other correctional treatment.1 Further, the Court considers the kinds of sentences

 available and the sentencing range, the need to avoid unwarranted disparities, and the

 need to provide restitution to any victims. See 18 U.S.C. § 3553(a).

        Regarding the defendant’s post-sentencing conduct and the risk of danger to the

 community resulting from a sentence reduction, the Court notes that the defendant has

 not incurred any disciplinary sanctions while incarcerated, and the government states that

 it has no specific information to present in opposition to a sentence reduction [Doc. 258

 p. 4]. Thus, the defendant’s post-sentencing conduct has been acceptable, and it does not

 appear that a sentence reduction will create an inordinate risk of danger to any person or

 the community. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B).

        After considering section 1B1.10 and the relevant § 3553(a) factors, the Court

 finds that a reduction in the defendant’s sentence is appropriate. The Court will reduce

 the defendant’s sentence in accordance with the amended guideline range and by an

 amount “comparably less than the amended guideline range.”                U.S. Sentencing

 Guidelines Manual § 1B1.10(b)(2)(B).        In making this determination, the Court is


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          The Court, however, is not intending to, and is not, imposing or lengthening the
 defendant’s sentence to enable the defendant to complete a treatment program or otherwise
 promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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 particularly influenced by the changes in offense levels resulting from Amendment 782.

 The Court has also taken into consideration the risk that the defendant poses to public

 safety, the nature and circumstances of the defendant’s offense, the defendant’s personal

 history and characteristics, and the defendant’s post-sentencing conduct.

 IV.   Conclusion

       For these reasons, the defendant’s motion [Doc. 256] is GRANTED, and the

 defendant’s sentence is REDUCED to 28 months’ imprisonment. If this sentence is

 less than the amount of time the defendant has already served, the sentence shall be

 reduced to a “time served” sentence.            U.S. Sentencing Guidelines Manual §

 1B1.10(b)(2)(C).

       Except as otherwise provided in this order, all provisions of the judgment dated

 May 9, 2014 [Doc. 233], shall remain in effect. The effective date of this order is

 November 2, 2015. U.S. Sentencing Guidelines Manual § 1B1.10(e)(1).

       IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




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